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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,
                                                      CIVIL ACTION NO. _______________
       v.
 ZOOM VIDEO COMMUNICATIONS,
 INC.,                                                JURY TRIAL DEMANDED

                Defendant.




                                          COMPLAINT


       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

Broadcast Distribution Systems”) files this complaint against Zoom Video Communications, Inc.

(“Zoom”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221 Patent”) and alleges

as follows:

                                            PARTIES

1.     Plaintiff is a Texas limited liability company with an office at 1801 NE 123 Street, Suite

314, Miami, FL 33181.

2.     On information and belief, Defendant is a Delaware corporation, with a place of business

at 7601 E. Technology Way, 3rd Floor, Denver, CO 80237. On information and belief, Defendant

may be served through its agent, The Corporation Trust Company, Corporation Trust Center, 1209

Orange St., Wilmington, DE 19801.

                                JURISDICTION AND VENUE

3.     This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.

Plaintiff is seeking damages, as well as attorney fees and costs.
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4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

1338(a) (Patents).

5.      On information and belief, this Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this District, has

conducted business in this District, and/or has engaged in continuous and systematic activities in

this District.

6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed to

be a resident in this District. Alternatively, acts of infringement are occurring in this District and

Defendant has a regular and established place of business in this District.

                                         BACKGROUND

8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and

legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in a

Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

The ‘221 Patent is attached as Exhibit A.

9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under the `221

Patent, including the exclusive right to recover for past, present and future infringement.

11.     The `221 Patent contains thirteen claims including two independent claims (claims 1 and

7) and eleven dependent claims.
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                                       COUNT ONE
                     (Infringement of United States Patent No. 8,856,221)

12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set

forth herein.

13.    This cause of action arises under the patent laws of the United States and, in particular

under 35 U.S.C. §§ 271, et seq.

14.    Defendant has knowledge of its infringement of the `221 Patent, at least as of the service

of the present complaint.

15.    Upon information and belief, Defendant has infringed and continues to infringe one or

more claims, including at least Claim 7, of the ‘221 Patent by making, using, importing, selling,

and/or offering for media content storage and delivery systems and services covered by one or

more claims of the ‘221 Patent.

16.    Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in

violation of 35 U.S.C. § 271.

17.    Defendant sells, offers to sell, and/or uses media content storage and delivery systems and

services, including, without limitation, the CuriosityStream streaming platform, and any similar

products (“Product”), which infringes at least Claim 7 of the ‘221 Patent.

18.    The Product practices a method of storing (e.g., cloud storage) media content (e.g. and

recorded music) and delivering requested media content to a consumer device. Certain aspects of

these elements are illustrated in the screenshots below and/or in those provided in connection with

other allegations herein.
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19.    The Product necessarily includes a receiver configured to receive a request message

including data indicating requested media content (e.g., the Product must have infrastructure to

receive a request to store recorded media content or to stream recorded media content on a

smartphone; additionally, the request message must contain data that identifies the content to be

stored or streamed) and a consumer device identifier corresponding to a consumer device (e.g., the

user credentials are used to access the contents of the Product). Certain aspects of these elements

are illustrated in the screenshots below and/or in those provided in connection with other

allegations herein.
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20.    The at least one server necessarily determines whether the consumer device identifier

corresponds to the registered consumer device (e.g., a user must be a registered user to access the

Product’s services). Certain aspects of these elements are illustrated in the screenshots below

and/or in those provided in connection with other allegations herein.

21.    The Product provides for both media downloads and/or storage, and media streaming. After

a successful login, the Product necessarily determines whether the request received from a

customer is a request for storage (e.g., recording or storing content) or content (e.g., streaming of

media content). Certain aspects of these elements are illustrated in the screenshots below and/or

in those provided in connection with other allegations herein.
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22.    The Product verifies that media content identified in the media data of the storage request

message (e.g., request to record content) is available for storage in order to prevent data errors that

would result from attempting to store content that is not available for storage. The Product must

verify that the media content (e.g. specific recording) identified in the media data of the storage

request message is available for storage in order to prevent data errors that would result from

attempting to store content that is not available for storage (e.g., the product must verify a user’s

ability to store video is limited to a certain amount of memory usage based upon their subscription;

thus media content may not be available for storage if a user is already above their memory limit
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or if the user has not subscribed to any service). Certain aspects of these elements are illustrated

in the screenshots below and/or in those provided in connection with other allegations herein.
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23.   If a customer requests content (e.g., live streaming of media content), then a processor within

the Product necessarily initiates delivery of the content to the customer’s device. The server will

initiate delivery of the requested media content to the consumer device (e.g., stream media content

feed to a smartphone or tablet etc.) if the request message is a content request message (e.g., request

for live streaming). Certain aspects of these elements are illustrated in the screen shots below

and/or in screen shots provided in connection with other allegations herein.
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24.   The media data time data that indicates a length of time to store the requested media content

(e.g. a user is allowed to store media content for limited amount of time as based upon their

subscription level). Certain aspects of these elements are illustrated in the screenshots below and/or

in those provided in connection with other allegations herein.
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25.   The server must first determine whether the requested media content exists prior to initiating

delivery in order to prevent data errors that would result from attempting to transmit media content

that does not exist (e.g. the product must verify that a particular requested data is stored in the

cloud). Certain aspects of these elements are illustrated in the screenshots below and/or in those

provided in connection with other allegations herein.

26. After the processor determines whether the requested media content is available, it determines

whether there are restrictions associated with the requested media content (e.g., subscription level

etc.). Certain aspects of these elements are illustrated in the screenshots provided in connection

with other allegations herein.
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27.   Defendant’s actions complained of herein will continue unless Defendant is enjoined by this

Court.

28. Defendant’s actions complained of herein is causing irreparable harm and monetary damage

to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this

Court.

29.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

of the United States Code.

30.       A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

Cloud-based Computing Environment,” is attached hereto as Exhibit A.

31.      By engaging in the conduct described herein, Defendant has injured Plaintiff and is liable

for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.

32. Defendant has committed these acts of literal infringement, or infringement under the doctrine

of equivalents of the `221 Patent, without license or authorization.

33.      As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

34.   Plaintiff is in compliance with 35 U.S.C. § 287.

35.   As such, Plaintiff is entitled to compensation for any continuing and/or future infringement

of the `221 Patent up until the date that Defendant ceases its infringing activities.

                                  DEMAND FOR JURY TRIAL

36.      Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil

Procedure, requests a trial by jury of any issues so triable by right.
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                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff asks the Court to:

(a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;


(b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys, and

all persons in active concert or participation with Defendant who receives notice of the order from

further infringement of United States Patent No. 8,856,221 (or, in the alternative, awarding

Plaintiff running royalty from the time judgment going forward);


(c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35 U.S.C.

§ 284;


(d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or

equity.


Dated: September 22, 2020                            Respectfully submitted,


                                                     /s/ Jay Johnson
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